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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN

TY A. BOLLERUD,

      Plaintiff,
                                                     Case No. 20-cv-882-jdp
   v.
CITY OF JANESVILLE GOV.,
MARK FREITAG, WALD KLIMCZYK,
JENNIFER PETROZZELLTO and
KELLY BEDESSEM,

      Defendants.


                          JUDGMENT IN A CIVIL CASE


      IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants dismissing this case.

      /s/                                                     10/19/2020
      Peter Oppeneer, Clerk of Court                          Date
